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AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the
Northern District of New York
UNITED STATES OF AMERICA )
v. )
GREG TEJADA, ) Case No. 1 psn oes
)
)
)
) DEC 17
Defendant. ) * 2024
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief. On
or about the date of August 18, 2024 through on or about August 19, 2024, in the county of Ulster in the Northern

District of New York the defendant violated:

Code Section Offense Description
Title 21, United States Code, Sections Conspiracy to distribute a controlled substance (500 grams or more
841(a)(1), (b)(1)(B), and 846 of a mixture and substance containing a detectable amount of
cocaine)

This criminal complaint is based on these facts:
See Attached Affidavit.

X]_ Continued on the attached sheet. ee

Complainant’s signature

Kevin Laird, SA HSI

Printed name and title

Attested to by the affiant in accordance with Rule 4.1 of the Federal Rules of €riminal Procedure.

Date: December 17, 2024 ire

Judge's signature

City and State: Albany, NY Hon. Christian F. Hummel, U.S. Magistrate Judge

Printed name and title
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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
I, Kevin Laird, being duly sworn, do hereby depose and state as follows:

INTRODUCTION AND OFFICER BACKGROUND

1. I am currently employed as a Special Agent with the Department of Homeland
Security, Homeland Security Investigations (“HSI”), and am assigned to the field office in
Newburgh, New York. I have been employed by HSI for 20 years and have been tasked with
investigating narcotics and gang-related cases on a full-time basis.

2. During my career in law enforcement, I have taken part in hundreds of narcotics-
and gang-related investigations and numerous narcotics, gang and conspiracy-related training
classes instructed by local, state and federal agencies. I have arrested numerous individuals for
violations of federal and state narcotics laws. I have participated in the execution of many of search
warrants resulting in the seizure of narcotics and proceeds thereof. I have also participated in the
execution of orders authorizing the interception of wire and electronic communications, the subject
of which were the possession and sale of narcotics and guns. As a result, I am familiar with the
technical aspects of intercepting wire and electronic communications.

3. Additionally, I have interviewed and worked with reliable confidential informants,
whose assistance resulted in the controlled purchases of narcotics and guns, and the introduction
of undercover police officers to persons who engage in the sale of narcotics and guns. I have
attended several schools and seminars, including those given by the DEA, New York/New Jersey
High Intensity Drug Trafficking Area program (“HIDTA”), HSI and other agencies of which
concern the enforcement of the laws prohibiting the trafficking of narcotics, guns and money

laundering, as well as the packaging and concealment of narcotics. Because of these experiences,
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I am familiar with the coded language, conduct, and customs of people engaged in conspiracies to
violate the drug, gun and money laundering laws of New York and the United States.

4. This affidavit is intended to show merely that there is probable cause for a
complaint, and consequently it does not set forth all of my knowledge about the matters under
investigation. Where statements of others are related in this affidavit, they are related in substance .
and in part.

3. I submit this affidavit in support of a criminal complaint charging GREG A.
TEJADA (“TEJADA”) with a violation of Title 21, United States Code, Sections 841(a)(1),
(b)(1)(B) and 846 (Conspiracy to Distribute a Controlled Substance (cocaine)) by knowingly and
intentionally conspiring with another to distribute 500 grams or more of a mixture or substance
containing a detectable amount of cocaine, a Schedule II controlled substance.

STATUTE

6. Title 21, United States Code, Section 841(a)(1) provides, in pertinent part, that: “It
shall be unlawful for any person knowingly or intentionally ... possess with intent to manufacture,
distribute, or dispense, a controlled substance....”

PROBABLE CAUSE
Investigation

7. In or around August 2023 through November 2024, HSI and the Ulster Regional
Gang Enforcement and Narcotics Team (URGENT) conducted an investigation into a drug
trafficking organization (“DTO”) operating in areas of Kingston, New York and New York City.
Pursuant to this investigation, investigators identified Damon J. DUNN (“DUNN”) as the leader

of the DTO who received supplies of cocaine from New Jersey-based narcotics trafficker,
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TEJADA, and redistributed that cocaine to others in Kingston, New York, including a co-
conspirator (“CC-1”).

8. On July 30, 2024, United States District Court Judge Mae A. D’Agostino in the
Northern District of New York issued an order that authorized the interception of wire
communications occurring over DUNN’s telephone number (hereinafter, “DUNN’s Phone”).
Pursuant to the July 30 Order, between August 17 and August 18, 2024, investigators intercepted
communications over DUNN’s Phone arranging to purchase cocaine from TEJADA at DUNN’s
residence in Ulster County for re-distribution to CC-1.

9. On August 17, 2024, investigators intercepted a telephone call between DUNN and
TEJADA during which DUNN requested a “whole one,” which is a commonly used term by drug
distributors to refer to a kilogram of a controlled substance, for resale to a third-party (CC-1). The
following day, on August 18, 2024, investigators then observed DUNN meet with CC-1 in a public
location where CC-1 handed DUNN a backpack. At the same time, investigators intercepted a
telephone call between DUNN and TEJADA during which DUNN instructed TEJADA to start
driving to DUNN’s residence.

10. At approximately 2:15 p.m. on August 18, 2024, law-enforcement saw TEJADA
arrive at DUNN’s residence. TEJADA entered DUNN’s residence where TEJADA remained for
only minutes. TEJADA then left DUNN’s residence and returned to the New York City area where
he remained for multiple hours. Thereafter, TEJADA left the New York City area and returned to
DUNN’s residence. DUNN welcomed TEJADA into his residence where TEJADA remained for
approximately five minutes before returning to the New York City area.

11. The following day, on August 19, 2024, following the meeting between DUNN and

TEJADA, investigators saw DUNN meet with CC-1. CC-1 arrived at DUNN’s residence and
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entered DUNN’s residence. CC-1 then exited DUNN’s residence after only minutes and departed
from the area. Thereafter, law enforcement conducted a traffic stop of CC-1’s vehicle and
recovered approximately 1,175 grams of cocaine from CC-1’s vehicle.

12. Based on the foregoing, as well as my training and experience, and knowledge of
this investigation, DUNN obtained cash from CC-1 and provided that cash to TEJADA who
traveled with the cash to the New York City area to obtain the cocaine. TEJADA then traveled
back to DUNN’s residence and provided DUNN with the cocaine that DUNN thereafter distributed
to CC-1.

13. Based on the above, your affiant submits that there is probable cause to conclude
that TEJADA has violated Title 21, United States Code, Sections 841(a)(1), (b)(1)(B) and 846
(Conspiracy to Distribute a Controlled Substance (cocaine)) by knowingly and intentionally
conspiring with another to distribute 500 grams or more of a mixture and substance containing
cocaine, a Schedule II controlled substance.

Attested to by the affiant.

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Kevin Laird
Special Agent
HSI

I, the Honorable Christian F. Hummel, United States Magistrate Judge, hereby acknowledge that
this affidavit was attested to by the affiant by telephone on December AY, 2024 in accordance
with Rule 4.1 of the Federal Rules of Criminal Procedure.

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Honorable Christian F. Hummel
United States Magistrate Judge
Northern District of New York

